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10
11                               UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                 )   No.: CR 05-00465-JSW
                                               )
16           Plaintiff,                        )
                                               )   [PROPOSED] ORDER EXCLUDING
17      v.                                     )   TIME UNDER THE SPEEDY TRIAL ACT
                                               )
18   ZIBU “BOB” GAO,                           )
     ZHICHENG ZENG,                            )
19   LI HUA MA,                                )
        aka Lin,                               )
20      aka Lene Lam,                          )
     XIANG ZHUGE,                              )
21   RALPH FRANK PETERS,                       )
        aka Peter,                             )
22      aka Patrick, and                       )
     LIWEI TAN KUO,                            )
23      aka Grace Tan,                         )
        aka Li Wei Tan,                        )
24      aka Tan Kuo Liwei,                     )
        aka Grace Kuo,                         )
25      aka Li Wei Kuo,                        )
                                               )
26           Defendants.                       )
                                               )
27
28
     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
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1           This matter came on the calendar of the Honorable Jeffrey S. White on September 29,
2    2005. At the parties’ request, the Court continued the matter until November 17, 2005. The
3    parties requested an exclusion of time under the Speedy Trial Act on three bases.
4           First, the parties requested an exclusion of time based upon the need for effective
5    preparation of counsel. See 18 U.S.C. § 3161(h)(8)(A) and (B)(iv). All defense counsel will
6    need ample time to review the voluminous discovery in this case. While most of the discovery
7    has been turned over, there is some outstanding discovery remaining. Much of that discovery
8    needs to be translated into English, which may take up to one month.
9           Second, due to the number of defendants and the quantity of discovery, this case is so
10   complex that it is unreasonable to expect adequate preparation within the time limits of the
11   Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).
12          Third, defendants Kuo and Peters have not yet made an appearance in this district. They
13   were ordered removed from the Central District of California and are en route in the custody of
14   the United States Marshals. Time is excludable as delay resulting from the removal of the
15   defendants from one district to another. See 18 U.S.C. § 3161(h)(1)(G).
16          Therefore, the parties are requesting an exclusion of time under the Speedy Trial Act.
17   The parties agree that the time from September 29 through November 17, 2005 should be
18   excluded in computing the time within which trial must commence. See 18 U.S.C. §§
19   3161(h)(1)(G), 3161(h)(8)(A) and (B)(iv).
20          Accordingly, the Court HEREBY ORDERS that the time from September 29 through
21   November 17, 2005 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161.
22          The Court finds that the delay resulting from the removal of defendants Kuo and Peters
23   from the Central District of California to this district is excludable. See 18 U.S.C. §
24   3161(h)(1)(G).
25          The Court finds that the failure to grant the requested exclusion would deny the
26   defendants reasonable time necessary for effective preparation, taking into account the exercise
27   of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).
28
     [PROPOSED] ORDER EXCLUDING TIME
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1           The Court further finds that this case is so complex that it is unreasonable to expect
2    adequate preparation for pretrial proceedings or for the trial itself within the time limits
3    established by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).
4           The Court finds that the ends of justice served by granting the requested exclusion
5    outweigh the best interest of the public and the defendants in a speedy trial and in the prompt
6    disposition of criminal cases. See 18 U.S.C. § 3161(h)(8)(A). The Court therefore concludes
7    that this exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A).
8    SO ORDERED.
9    DATED: October 14, 2005                        ___________________________________
                                                    HONORABLE JEFFREY S. WHITE
10                                                  UNITED STATES DISTRICT JUDGE
11
12   Approved as to form:
13
14   /s/ Alan Dressler
     ALAN DRESSLER
15   Counsel for Defendant GAO
16
     /s/ Tony Tamburello
17   TONY TAMBURELLO
     Counsel for Defendant ZENG
18
19   /s/ Harris Taback
     HARRIS TABACK
20   Counsel for Defendant ZHUGE
21
     /s/ Frank Bell
22   FRANK BELL
     Counsel for Defendant MA
23
24   /s/ Monica Fernandez
     MONICA FERNANDEZ
25   Assistant United States Attorney
     Counsel for the United States
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     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
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